   Case 2:24-cr-00214-MEMF                   Document 41            Filed 05/17/24          Page 1 of 1 Page ID #:154




                                         UNITED STATES DISTRICT COURT
                                        CENTRAL DISTRICT OF CALIFORNIA
  UNITED STATES OF AMERICA,                                          CASE NUMBER
                                                      PLAINTIFF
                                  ~.
~r; ~~ ha-~~C~.~ ~ ~.                               DEFENDANT.            ABSTRACT OF COURT PROCEEDING
TO:      UNITED STATES MARSHAL AND/OR W RDEN OF DEFENDANT'S FAC                                 TY OF CONFINEMENT:

         You are hereby notified t—ha~t e Honorable         ~`✓l~ ~~                                             `~
❑ United States District Judge L~'United States Magistrate Judge, has this date ordered        ❑recommended that the above-named
federal prisoner be:

         ❑ Allowed to make ❑           social ❑         legal telephone calls) at prisoner's own expense;
                ❑ forthwith                           ❑ as soon as possible               ❑ as requested, at suitable times

         ❑ Allowed social visits             ❑Dressed in civilian clothing for court appearances
         ❑ Ho ed or designated to ❑ MDCLA ❑Other
         ~ Provided with a medical examination and/or medical treatment far ~                               ~~ ~~
         A report regarding this examination/treatment is to be submitted to the court o or befor

         ❑ Provided with apsychiatric/psychological examination. A report regarding this examination/treatment is to be submitted to
         the court on or before

         ❑ Provided with dental treatment. A report regarding this examination treatment is to be submitted to the court on or
         before

         ❑ Other

THIS DOCUMENT SHALL IMMEDIATELY BE FORWARDED TO THE FACILITY WHERE DEFENDANT IS HOUSED.

                  l                                                                                   L   {U.       I     CT CO   T
Dated:           /         ~                                                    By:     y

                                                                                                    Deputy Clerk

                                                 RETURN TO CLERK'S OFFICE
         ❑ Western Division-Los Angeles             ❑Southern Division-Santa Ana                    ❑Eastern Division-Riverside

This abstract was received on

❑ The aforementioned orders) were or will be complied with on:

❑ The aforementioned orders) were not complied with for the following reasons:




                   Name (Print)                                        Title                                Signature

cc: ~ MDC,~ Cell block

CR-53 (10/22)                                      ABSTRACT OF COURT PROCEEDING
